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IN THE UNITED STATES DISTRICT COURT = , f = ,
FOR THE DISTRICT OF MONTANA . a
BILLINGS DIVISION JUN - 2 2020

Clerk, U S District Court
District Of Montana

UNITED STATES OF AMERICA, CV 20-74-BLG-SPW Bangs

  

Plaintiff,
Vv. ORDER

LARRY WAYNE PRICE, JUNIOR,

Defendant.

 

THREE BLIND MICE, LLC,

Intervenor Defendant.

 

 

The Court recognizes this matter was transferred to the District of Montana
and assigned to the undersigned on June 1, 2020. (Doc. 100) The Court herein
takes notice that Plaintiff, United States of America, has two out-of-state attorneys
of record: Daniel P. Bubar and Krista Consiglio Frith, both out of the United States
Attorney’s Office in Roanoke, Virginia.

The Defendant, Larry Wayne Price, Junior, has four out-of-state attorneys of
record: Jennifer DeGraw, Kevin Holt, Thomas Bondurant, Jr., and Walter Gust, all
out of the firm of Gentry Locke Rakes & Moore in Roanoke, Virginia.

The Intervenor Defendant, Three Blind Mice, LLC, has two out-of-state

attorneys of record: Joshua F.P. Long out of the firm of Woods Rogers PLC of
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Roanoke, Virginia, and John Jessee out of the firm of Jessee & Read in Abingdon,
Virginia. Under L.R. 83.1(a)(2), only an attorney who is authorized to appear
under this rule may appear on behalf of a party. Accordingly,

IT IS ORDERED that Counsel for the Plaintiff, Defendant and the
Intervenor Defendant shall file a notice of appearance stating their standing with
the State Bar of Montana. In lieu of bar membership to the State Bar of Montana,
Plaintiff, Defendant and Intervenor Defendant shall arrange for local counsel, who
must file a notice of appearance within 30 days, or Thursday, July 2, 2020. Local
counsel may then move for pro hac vice admission of out-of-state counsel

consistent with L.R. 83.1(d).

DATED this 22" “fay of June, 2020.

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“SUSAN P. WATTERS
United States District Judge
